Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 1 of 54 Page ID #:154

                                                                       t
    1   WILLIAM S. LERACH (68581)
        JOHN E. GRASBERGER (89774)
    2   MILBERG WEISS BERSHAD
          HYNES & LERACH
    3   600 West Broadway, S u i t e 1800
        San Diego, CA 92101
    4   Telephone: 619/231-1058
    5   WRIGHT & BONDS
        EDWARD L. WRIGHT
    6   STEVEN E. CAULEY
        Centre P l a c e , S u i t e 900
    7   L i t t l e Rock, AR 72201
        Telephone: 501/376-2500
    8
        Attorneys f o r P l a i n t i f f
    9
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   11                                  UNITED STATES DISTRICT COURT
   12                                CENTRAL DISTRICT OF CALIFORNIA
   13
        MARK PFEIFER, On Behalf Of Himself
   14   and A l l o t h e r s S i m i l a r l y S i t u a t e d ,           "18 6 2 ^^^(^'^'^
   15                                                               ^ CLASS ACTION                 ^
                                         Plaintiff,
                                                                     COMPLAINT FOR VIOLATION OF
   16           vs.                                                  THE FEDERAL SECURITIES LAWS
   17   THOMAS A. McFALL, PAUL M. BROCKMAN,
        DAVID R. FOX, ALBERT LEVIE, RUSHTON
   18   O. BACKER, MARNE OBERNAUER, SR. AND
        HAMBURGER HAMLET RESTAURANTS, INC.,
   19
                                         Defendants.                 P l a i n t i f f Demands A
   20                                                                T r i a l By Jury
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Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 2 of 54 Page ID #:155
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Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 3 of 54 Page ID #:156



    1          A l l allegations made in t h i s Complaint are based on        informa-
    2   tion and b e l i e f except those allegations which pertain to the named
    3   p l a i n t i f f and h i s counsel, which are based upon personal knowledge.
    4    P l a i n t i f f ' s information and belief i s based, inter a l i a , on the
    5    investigation made by and through h i s attorneys.
    6                      INTRODUCTION AND OVERVIEW OF ACTION
    7          1.     This i s a c l a s s action lawsuit brought against Hamburger
    8   Hamlet Restaurants       Inc. ("Hamlet" or the          "Company"), and i t s
    9    directors.     These claims are brought on behalf of a l l persons (the
   10    "Class") who purchased the common stock of Hamlet between November
   11   21,   1991 and A p r i l 1, 1993, inclusive (the "Class Period"), seeking
   12   to pursue remedies under the Securities and Exchange Act of 1934.
   13   During the Class Period, the defendants caused or permitted Hamlet
   14   to publicly issue misleading f i n a n c i a l statements and other false
   15   statements in annual and quarterly reports to shareholders, press
   16   releases and interviews with s e c u r i t i e s analysts regarding Hamlet,
   17   i t s business, the status of i t s operations,           i t s earnings, i t s
   18   capacity to achieve profitable growth, i t s a b i l i t y to maintain i t s
   19   ambitious expansion plans, and i t s future business prospects.               The
   20   information provided by the defendants was materially false and
   21   misleading      when   issued   and   had     the   purpose    and   effect   of
   22   artificially     i n f l a t i n g the market price of Hamlet common stock
   23   throughout the Class Period.
   24          2.     As a r e s u l t of the defendants' wrongful conduct, Hamlet
   25   stock reached a high of over $20 per share during the Class Period,
   26   during which three of the individual defendants profited from their
   27   wrongdoing by      sellinig   shares of the Company's stock           into the
   28    inflated   market.      However, when the          truth of   Hamlet's prior

                                              - 1 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 4 of 54 Page ID #:157



    1    improper accounting practices, i t s unachievable expansion program,
    2    i t s earnings problems and i t s severely diminished future prospects
    3   became known, i t s common stock ultimately collapsed to below $6 per
    4    share.
    5           3.       Prior     to 1988, Hamburger Hamlet         had been a public
    6    company.          However, i n May        1988 an investor      group   including
    7   defendant Thomas McFall took the Company private i n a leveraged
    8   buyout.          I n order to get r e l i e f    from the debt load which the
    9    Company had incurred as a part of the buyout, and because the
   10   lender       was c a l l i n g   i t s debt, the Company commenced an i n i t i a l
   11   public offering on November 21, 1991, s e l l i n g approximately 2.5
   12   m i l l i o n shares to the public at $11.50 per share.
   13           4.       I n order to insure the success           of the offering and
   14   thereafter to i n f l a t e the price of the stock, during the Class
   15   Period the defendants represented               to the investing public, inter
   16   alia,     (a) that they were successfully pursuing a well-planned
   17   strategy        for expansion, which would r e s u l t        i n steady revenue
   18   growth, improved earnings, and increased earnings per share; (b)
   19   that they had recently completed a restaurant renovation program
   20   such that no further extraordinary maintenance expenses would be
   21   necessary with regard to the older restaurants; (c) that the new
   22   restaurants were doing extraordinarily well and were exceeding
   23   management expectations;               (d) that the Company could continue to
   24   expand using internally-generated funds and available credit lines
   25   because they had trimmed expenses, which they expected would
   26   decrease even further, and (e) that Hamlet was successfully meeting
   27   competitive pressures and achieving continued success.
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                                                   - 2 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 5 of 54 Page ID #:158



    1         5.    The above representations, and others made by defendants
    2   throughout the Class Period, were f a l s e and misleading.           I n fact,
    3   defendants knew from internal, undisclosed corporate data that: (a)
    4    positive reported earnings were being maintained only as a result
    5    of postponing     necessary maintenance,       upgrades,     and remodeling
    6    expenses and by improperly c a p i t a l i z i n g new-restaurant pre-opening
    7    expenses; (b) the Company had done no marketing studies to support
    8    i t s "expansion strategy" and, i n fact, there was great dissension
    9    among top management about the location and number of possible new
   10   restaurants; (c) the Company was not able to expand as represented
   11   without s i g n i f i c a n t l y increasing i t s debt; (d) the new restaurants
   12   were providing the Company with an inadequate return on investment;
   13   and (e) Hamlet was facing softening demand for i t s products as a
   14   r e s u l t of competitive pressures, f a i l u r e to offer promotions and
   15   discounts, an increasingly-unpopular menu, and outdated f a c i l i t i e s .
   16         6.    The purpose of these a c t i v i t i e s by the defendants was to
   17   a r t i f i c i a l l y maintain and/or increase the price of Hamlet's common
   18   stock i n order to, inter a l i a :
   19                (a) F a c i l i t a t e the public offering so that the Company
   20   could pay off i t s crushing debt;
   21                (b) Allow the sale of Hamlet stock by defendants for
   22   t h e i r personal benefit a t substantially higher prices than what
   23   would be available i n the marketplace were the true facts known to
   24   the investing public;
   25                (c) J u s t i f y and permit the perpetuation of extravagant
   26   s a l a r i e s , benefits and perquisites being enjoyed by the Hamlet
   27   defendants; and
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                                              - 3-
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 6 of 54 Page ID #:159




    1               (d). Cover up and conceal          the mismanagement of the
    2   Company by i t s top executives.
    3         7.    Defendants'    plan   and   scheme     ultimately     unravelled
    4   beginning on A p r i l 1, 1993, when the Company revealed that i t s
    5   same-store s a l e s i n the f i r s t quarter were down by more than 5%.
    6   Thereafter,    the Company reported         earnings   well   below amounts
    7   previously indicated, including a loss i n the fourth quarter of
    8   1993. I n addition, the Company announced that i t was renovating
    9   and/or remodeling a l l of i t s Southern California restaurants; that
  10    i t was adopting a new menu; that i t had begun running promotions
  11    and offering discounts;       that   i t was decreasing       the number of
  12    restaurants i t expected to open; and that i t s President and Chief
  13    Financial Officer, defendant Paul Brockman, had f i r s t been replaced
  14    as CFO and then had resigned.
  15          8.    As the truth about Hamlet's true condition was revealed
  16    throughout 1993 and into 1994, Hamlet's stock declined from i t s
  17    Class Period high of over $21 to l e s s than $10 after the end of the
  18    Class Period,     and currently trades for approximately $5-6 per
  19    share.
  20          9.    While buyers of Hamlet's stock during the Class Period
  21    suffered millions of d o l l a r s in damages by purchasing Hamlet stock
  22    a t grossly inflated prices, Hamlet and i t s i n s i d e r s did not fare
  23    nearly so badly.      The Company was able to pay off i t s debt with
  24    money obtained from the Class members, and three of the individual
  25    defendants pocketed over $2 million by s e l l i n g 114,500 shares of
  26    t h e i r stock into the open market at prices inflated by the fraud
  27    they participated i n .
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                                             - 4-
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 7 of 54 Page ID #:160




    1            10.              The charts s e t forth below show (a) the price action of
    2   Hamlet stock from November 22, 1991, to March 17, 1994, with
    3   defendants' insider s e l l i n g , and (b) a comparison of Hamlet stock
    4   to the Dow Jones Restaurants Index, which demonstrates that the
    5   sharp increases i n Hamlet's stock and i t s subsequent collapse were
    6   due     to s p e c i f i c facts related to Hamlet and not due to factors
    7   affecting the restaurant industry generally:
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                                                                     Hamburger Hamlet
   11
                                                                November 22,1991 - March 17,1994
   12                                                              Average Weekly Price Action

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              22-NcM            14-Fab         CS-May        31-Jul        S3-0ct      16-Jan        OS-Apr        02-Jul       a4-6sp       17-Dao      11-Mar
                       03.jBn            27-Mar       IS-Jun        11-Sap        W-Oac       26-Fab        21-May        13-Aug       OS-Nov      2S.jBn
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Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 8 of 54 Page ID #:161
                                                                I             I




                                                            Hamburger hiamlet Restaurants, Inc.
    1                                                       November 21,1991 - March 9,1994
                                                             vs. Dow Jones Restaurants Index
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                  2Z-Nov«1           19.Mw-8e      140uU2           04-Nov«       02-MBr.aa   ^4^Julv8^    1»Os|.93
   13
                             Hamburger Hamlet'
   14                        Index

   15
   16                                               JURISDICTION AND VENUE
   17          11.     P l a i n t i f f brings t h i s action pursuant §§10(b) and 20 of
   18    the Securities Exchange Act, 15 U.S.C. §§78j(b) and 78t(a), and
   19   Rule lOb-5 promulgated thereunder, 17 C.F.R. §240.10b-5.
   20          12.     The Court has j u r i s d i c t i o n over t h i s action pursuant to
   21    §27 of the Securities Exchange Act, 15 U.S.C. §78aa and 28 U.S.C.
   22    §1331.
   23          13.     Venue i s proper i n t h i s d i s t r i c t pursuant to §27 of the
   24    Securities Exchange Act and 28 U.S.C. §1391(b). Many of the acts
   25    and transactions complained of herein, including the dissemination
   26    of public statements and reports which contained materially false
   27    and misleading information and the sales of s e c u r i t i e s , occurred in
   28    substantial part                       i n the Central D i s t r i c t                       of C a l i f o r n i a .   The

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Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 9 of 54 Page ID #:162



    1   p r i n c i p a l executive o f f i c e s of the Company are located at 14156
    2   Magnolia Blvd., Sherman Oaks, C a l i f o r n i a .    The Hamlet defendants
    3    l i v e i n and/or transact business i n t h i s D i s t r i c t and many of
    4   Hamlet's employees and other potential witnesses reside i n t h i s
    5    District.
    6          14. I n connection       with the wrongful acts alleged i n t h i s
    7   Complaint, defendants, d i r e c t l y or i n d i r e c t l y , used the means and
    8    instrumentalities of interstate commerce, including the mails,
    9    interstate telephone        communications and the f a c i l i t i e s   of the
   10   national s e c u r i t i e s exchanges.
   11                                      THE PARTIES
   12         15. P l a i n t i f f Mark Pfeifer purchased 75 shares of Hamburger
   13   Hamlet common stock on August 4, 1992, for $12.50 per share and has
   14   been damaged thereby.
   15         16. Defendant Hamburger Hamlet Restaurants, Inc. owns and
   16   operates 31 restaurants i n the Southern C a l i f o r n i a , Washington,
   17   D.C., and Chicago metropolitan areas. Since November 21, 1991, the
   18   common stock      of the Company has been traded              i n an open and
   19   e f f i c i e n t market on the over-the-counter      NASDAQ National Market
   20   System ("NASDAQ") under the symbol HAMB. As of November 13, 1993,
   21   there were approximately        4 million shares of the Company's common
   22   stock outstanding.
   23         17. Defendant        Thomas A. McFall         ("McFall")   was, at      all
   24   relevant times.       Chairman     and Chief      Executive   Officer     of the
   25   Company.      During the Class Period defendant McFall, while i n
   26   possession of the non-public              information particularized herein,
   27   sold 102,500 shares of the Company's common stock for proceeds of
   28   $1,848,475. Because of McFall's position with the Company, he had

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Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 10 of 54 Page ID #:163



    1    access t o t h e adverse non-public i n f o r m a t i o n about i t s business,
    2    finances,       products,        markets   and present        and f u t u r e    business
    3    prospects v i a access t o i n t e r n a l corporate documents ( i n c l u d i n g the
    4    Company's operating p l a n ( s ) , budget(s), and f o r e c a s t ( s ) and reports
    5    of     actual     operations        compared       thereto),      conversations        and
    6    connections w i t h other corporate o f f i c e r s and employees, attendance
    7    a t management and Board o f D i r e c t o r s ' meetings and committees
    8    t h e r e o f , and v i a r e p o r t s and other i n f o r m a t i o n provided t o him i n
    9    connection t h e r e w i t h .
   10           18. Defendant Paul M. Brockman                  ("Brockman") was, a t a l l
   11    r e l e v a n t times, t h e President     and Chief F i n a n c i a l O f f i c e r o f t h e
   12    Company. During t h e Class Period defendant Brockman, while i n the
   13    possession o f t h e non-public i n f o r m a t i o n p a r t i c u l a r i z e d herein,
   14    sold 10,000 shares o f t h e Company's common stock f o r proceeds of
   15    $189,000. Because o f Brockman's p o s i t i o n w i t h t h e Company, he had
   16    access t o t h e adverse non-public i n f o r m a t i o n about i t s business,
   17    finances,       products,        markets   and present        and f u t u r e    business
   18    prospects v i a access t o i n t e r n a l corporate documents ( i n c l u d i n g the
   19    Company's operating p l a n ( s ) , budget(s), f o r e c a s t ( s ) and r e p o r t s of
   20    a c t u a l operations compared t h e r e t o ) , conversations and connections
   21    with    other     corporate        officers     and employees,          attendance a t
   22    management and Board o f D i r e c t o r s ' meetings and committees thereof,
   23    and v i a r e p o r t s and other information provided t o him i n connection
   24    therewith.
   25           19. Defendant David R. Fox ("Fox") was, a t a l l relevant
   26    times. Executive Vice President of t h e Company.                    Because of Fox's
   27    p o s i t i o n w i t h t h e Company, he had access t o t h e adverse non-public
   28    i n f o r m a t i o n about i t s business, finances,        products,      markets and

                                                    - 8 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 11 of 54 Page ID #:164



    1    present     and     future business prospects              v i a access to            internal
    2    corporate documents (including the Company's operating plan, budget
    3    and forecast and reports of actual operations compared thereto),
    4    conversations and connections with other corporate o f f i c e r s and
    5    employees,        attendance     at   management         and        Board    of Directors'
    6    meetings      and    committees thereof,           and     v i a reports           and     other
    7    information provided to him in connection therewith.
    8          20.     Defendant Albert Levie ("Levie") was,                         at a l l relevant
    9    times,      a director    of the Company.                During the Class Period,
   10    defendant Levie, while in possession of non-public                                information
   11    particularized herein, sold 2,000 shares of the Company's common
   12    stock for proceeds of $33,000.               Because of Levie's position with
   13    the Company, he had access to the adverse non-public                              information
   14    about i t s business, finances, products, markets and present and
   15    future      business    prospects,      v i a access           to     internal       corporate
   16    documents (including the company's operating plans, budgets and
   17    forecasts and         reports of actual        operations compared thereto),
   18    conversations and connections with other corporate o f f i c e r s and
   19    employees,        attendance     at   management         and        board    of   directors'
   20    meetings      and    committees thereof,           and     v i a reports          and      other
   21    information provided to him i n connection therewith.
   22          21.     Defendant    Rushton      O.   Backer        ("Baker")          was,       at a l l
   23    relevant times, a director of the Company.                           Because of Backer's
   24    position with the Company, he had access to the adverse non-public
   25    information about i t s business, finances, products, markets and
   26    present and         future business prospects, v i a access to                        internal
   27    corporate     documents        (including    the    company's operating plans,
   28    budgets and forecasts and reports of actual operations compared

                                                 - 9 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 12 of 54 Page ID #:165



    1    thereto),        conversations     and    connections     with   other   corporate
    2    o f f i c e r s and   employees, attendance       at management and       board of
    3    directors' meetings and committees thereof, and v i a reports and
    4    other information provided to him i n connection therewith.
    5            22.    Defendant Marne Obernauer, Sr. ("Obernauer") was, at a l l
    6    relevant times, a director of the Company. Because of Obernauer's
    7    position with the Company, he had access to the adverse non-public
    8    information about i t s business, finances, products, markets and
    9    present and           future business prospects, v i a access to           internal
   10    corporate       documents      (including   the   company's operating         plans,
   11    budgets and forecasts and reports of actual operations compared
   12    thereto),       conversations      and   connections      with   other   corporate
   13    o f f i c e r s and   employees, attendance       at management and      board of
   14    directors' meetings and committees thereof, and v i a reports and
   15    other information provided to him i n connection therewith.
   16           23.     At a l l times material hereto, each of the individual
   17    defendants was the agent of the Company, and at a l l times acted
   18    within the course and scope of said agency.                  By reason of their
   19    stock ownership, management positions and/or membership on the
   20    Company's Board           of   Directors, the     individual     defendants    were
   21    controlling persons of the Company and had the power and influence,
   22    and exercised the same, to cause the Company to engage in the
   23    i l l e g a l practices complained of herein.           They are thus l i a b l e as
   24    controlling persons.
   25           24.     As o f f i c e r s , directors and/or controlling persons of a
   26    publicly-held company whose stock i s registered with the SEC under
   27    the Exchange Act and traded on the NASDAQ National Market System,
   28    the defendants          had a duty to promptly disseminate accurate and

                                                  - 10 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 13 of 54 Page ID #:166



    1    t r u t h f u l information    with respect to the Company's operations,
    2    business,     products,       markets, management, earnings,              present and
    3    future     business      prospects,      to correct     any previously          issued
    4    statements that had become untrue and to disclose any adverse
    5    trends     that    would      materially    affect     the present        and   future
    6    f i n a n c i a l operating   r e s u l t s of the Company, so that the market
    7    price of the Company's stock would be based upon t r u t h f u l and
    8    accurate     information.
    9            25. The defendants, because of t h e i r             positions with the
   10    Company, controlled and/or possessed                the power and authority to
   11    control the contents of i t s quarterly and annual reports, press
   12    releases and presentations to s e c u r i t i e s analysts and thereby the
   13    investing public.          Each defendant was provided with copies of the
   14    Company's      reports        and press     releases    alleged      herein     to be
   15    misleading prior to or shortly after t h e i r issuance and had the
   16    a b i l i t y and opportunity to prevent t h e i r issuance or cause them to
   17    be corrected.        Because of t h e i r positions and access to material
   18 . non-public information             available to them but not to the public,
   19    each of these defendants knew or recklessly disregarded that the
   20    adverse facts specified herein had not been disclosed to and were
   21    being     concealed        from    the     public     and   that     the     positive
   22    representations        which      were    being     made were      then    false   and
   23    misleading.       As a r e s u l t , each of the defendants i s responsible for
   24    the accuracy of the public reports and releases detailed herein as
   25    "group published"          information     and i s therefore responsible and
   26    l i a b l e for the representations contained therein.
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                                                  - 11 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 14 of 54 Page ID #:167



    1              HAMLET'S INTERNAL FORECASTS. PLANS AND PROJECTIONS
    2            26. A key management t o o l f o r t h e Company's t o p executives
    3    was i t s business plan, budget, f o r e c a s t and/or p r o j e c t i o n , by which
    4    t h e Company's t o p executives set performance goals f o r Hamlet and
    5    then c l o s e l y monitored the corporation's a c t u a l performance, i . e . ,
    6    r e s u l t s o f operations compared t o t h e planned, budgeted                    and/or
    7    forecasted r e s u l t s , on a continuing basis.              These plans, forecasts
    8    and budgets were prepared on an annual basis and updated during t h e
    9    year.     Each o f the defendants was aware o f Hamlet's i n t e r n a l plan,
   10    f o r e c a s t and budget     and o f t h e i n t e r n a l   r e p o r t s prepared and
   11    c i r c u l a t e d , a t l e a s t monthly, comparing Hamlet's a c t u a l r e s u l t s t o
   12    those p r e v i o u s l y planned, budgeted and/or forecasted                  including,
   13    s p e c i f i c a l l y , the s t a t u s o f the planned u n i t expansion. Hamlet top
   14    executives used i t s i n t e r n a l plan, budget and f o r e c a s t as the basis
   15    f o r t h e statements         they    made     publicly       about     t h e Company's
   16    performance       during     t h e Class     Period.        Based on t h e negative
   17    internal     r e p o r t s o f t h e Company's a c t u a l business          performance
   18    compared t o t h a t planned, budgeted and forecasted, i n c l u d i n g the
   19    i n a b i l i t y o f operations t o generate the necessary cash flow t o meet
   20    t h e business plan, t h e defendants knew or r e c k l e s s l y disregarded
   21    t h a t those p u b l i c statements, and t h e statements by s e c u r i t i e s
   22    analysts f o r which t h e Company i s responsible, were f a l s e and
   23    misleading when made and were i n f l a t i n g the market p r i c e of Hamlet
   24    stock.
   25                               FRAUD-ON-THE-MARKET DOCTRINE
   26           27. The market f o r Hamlet stock i s an e f f i c i e n t market f o r
   27    t h e f o l l o w i n g reasons, among others:
   28

                                                   - 12 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 15 of 54 Page ID #:168



    1                   (a) Hamlet stock met the requirements                      f o r l i s t i n g , and

    2    was l i s t e d ,   on t h e NASDAQ National                Market      System,       a highly
    3    e f f i c i e n t and automated market;
    4                   (b) As a regulated i s s u e r , t h e Company f i l e d p e r i o d i c

    5    p u b l i c r e p o r t s with the SEC;

    6                   ( c ) The Company's t r a d i n g           volume      i n i t s stock was

    7    s u b s t a n t i a l , r e f l e c t i n g numerous t r a d e s each day; and
    8                   (d) The Company was followed by a n a l y s t s employed by
    9    brokerage f i r m s who wrote r e p o r t s which were d i s t r i b u t e d t o the

   10    s a l e s f o r c e and c e r t a i n customers of t h e i r r e s p e c t i v e brokerage
   11    f i r m s and which were a v a i l a b l e        to the public.              Each    of these

   12    r e p o r t s was p u b l i c l y a v a i l a b l e and entered the p u b l i c marketplace.
   13                          CONSPIRACY, AIDING AND ABETTING AND
                                   CONCERTED ACTION ALLEGATIONS
   14
                28.    Each of the defendants i s l i a b l e as a d i r e c t p a r t i c i p a n t
   15
         i n , an a i d e r and abettor of, and a c o - c o n s p i r a t o r with r e s p e c t t o
   16
         the wrongs complained of h e r e i n .             I n committing the wrongful a c t s
   17
         a l l e g e d h e r e i n , a l l of t h e defendants pursued a common course of
   18
         conduct and conspired with one another                        i n furtherance of t h e i r
   19
         common plan and scheme.               The conspiracy was designed                 t o and did,
   20
         ( i ) deceive the i n v e s t i n g p u b l i c , i n c l u d i n g p l a i n t i f f and the other
   21
         C l a s s Members, regarding Hamlet's expansion                     c a p a b i l i t i e s , demand
   22
         for    i t s products,        financial       condition       and present          and future
   23
         b u s i n e s s prospects; ( i i ) a r t i f i c i a l l y i n f l a t e the market p r i c e of
   24
         Hamlet common stock during the C l a s s Period t o t h e b e n e f i t of the
   25
         Hamlet defendants;           ( i i i ) cause p l a i n t i f f and other members of the
   26
         C l a s s t o purchase Hamlet common stock a t i n f l a t e d p r i c e s ; and ( i v )
   27
         permit     c e r t a i n defendants t o s e l l       t h e i r Hamlet common stock a t
   28

                                                     - 13 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 16 of 54 Page ID #:169



    1    inflated prices.           In furtherance of t h i s plan, conspiracy              and
    2    course of conduct, defendants, and each of them, took the actions
    3    alleged herein.
    4           29.   Defendants'      conspiracy      commenced       by    at     least   the
    5    beginning     of the Class Period.           The   Hamlet defendants f a l s e l y
    6    presented the Company's current and future business prospects and
    7    prolonged the i l l u s i o n of revenue and earnings growth by making i t
    8    appear that i t s existing and new units were successful, that i t was
    9    successfully countering price competition, and that i t could main-
   10    tain    i t s announced     unit growth      and   development        plans.       The
   11    defendants engaged in such a scheme so that they could i n f l a t e the
   12    price of the Company's stock in order to, inter a l i a : ( i ) protect
   13    and    enhance     their    executive     positions     and        the substantial
   14    compensation benefits and prestige they obtained                     thereby; ( i i )
   15    enhance the value of t h e i r personal holdings and options in Hamlet
   16    and    i n d i r e c t l y gain additional benefits; ( i i i )      sell   shares of
   17    Hamlet common stock they owned at inflated prices to obtain large
   18    amounts of cash and large p r o f i t s and/or avoid s i g n i f i c a n t losses;
   19    (iv) i n f l a t e the reported p r o f i t s of the Company in order to obtain
   20    larger payments under Hamlet's o f f i c e r bonus compensation plan
   21    and/or v i a discretionary individual performance bonuses; and (v)
   22    cover up the individual defendants' prior mismanagement of Hamlet.
   23           30.   Each of the defendants aided and abetted and                    rendered
   24    substantial assistance in the wrongs complained of.                   In taking the
   25    actions, as particularized herein, to substantially a s s i s t                    the
   26    fraud, each of the defendants acted with knowledge of the primary
   27    wrongdoing, substantially assisted the accomplishment of that fraud
   28

                                               - 14 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 17 of 54 Page ID #:170



    1    and was aware of h i s overall contribution to and furtherance of the
    2    fraud.
    3                        HAMLET'S GUIDANCE TO AND USE OF
                     SECURITIES ANALYSTS AS A CONDUIT TO FEED FALSE
    4                     INFORMATION TO THE SECURITIES MARKETS
    5           31. Analysts employed by s e c u r i t i e s firms prepare written
    6    reports and make recommendations from time to time about public
    7    companies such as Hamlet. I n writing t h e i r reports, these analysts
    8    rely     i n substantial   part    upon     information          provided      by and
    9    statements and reports made publicly by the company, information
   10    provided to them privately by the company, and assurances by the
   11    company that information        i n the analysts'             reports i s not at
   12    material variance from the company's internal knowledge of i t s
   13    operations and prospects.
   14           32. Because Hamlet stock was a "growth stock," i t s price was
   15    p a r t i c u l a r l y sensitive to the Company's and analysts'            statements
   16    regarding the Company's future p r o f i t s .              Defendants used their
   17    communications to analysts to assure them that Hamlet's business
   18    was strong, that the Company was on schedule to achieve consistent
   19    growth i n net income and earnings per share throughout 1993-1994,
   20    and, importantly, that growth and development plans announced by
   21    the Company were       "on-track"     pursuant        to a       well-thought-out,
   22    comprehensive strategy, and that t h i s key indicium of Hamlet's
   23    health remained undisturbed by interim events.
   24           33. Hamlet    i s followed      by s p e c i f i c    s e c u r i t i e s analysts
   25    employed    by   brokerage houses         which      issue      reports      or make
   26    recommendations concerning        Hamlet s e c u r i t i e s to t h e i r     clients.
   27    Among the s e c u r i t i e s firms that followed the Company during the
   28

                                             - 15 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 18 of 54 Page ID #:171



    1    Class Period were Dean Witter Reynolds and L.H. Friend, Weinress &
    2    Frankson, Inc.
    3           34.    Prior     to    and   during    the     Class Period,              i t was      the
    4    Company's practice to have i t s top o f f i c e r s and key members of
    5    Hamlet's management team communicate regularly with                                  securities
    6    analysts including analysts at the firms whose reports have been
    7    identified above on a regular basis to discuss, among other things,
    8    the Company's prospects,             i t s products,         operating r e s u l t s ,        and
    9    anticipated performance, and to provide detailed                               "guidance"      to
   10    these analysts with respect to the Company's business, including
   11    projected revenues,            earnings and,        of p a r t i c u l a r    importance to
   12    Hamlet analysts, expansion plans.               These communications included,
   13    but were not limited to, frequent conference c a l l s , meetings and
   14    analyst briefings where the defendants                    or t h e i r agents at their
   15    direction and with t h e i r acquiescence discussed aspects of the
   16    Company's operations and f i n a n c i a l prospects.               The defendants knew
   17    that    by    participating         in   and/or        approving             these    periodic
   18    communications         with     analysts,     the     Company        could       disseminate
   19    information to the investment community which investors would rely
   20    and act upon ( i . e . ,       make purchases        and sales of the Company's
   21    securities).           The     defendants     had     and/or       orchestrated             these
   22    communications with analysts in order to cause or encourage them to
   23    issue favorable reports on Hamlet and used these communications to
   24    falsely      present     the     successful     prospects          of        Hamlet    to     the
   25    marketplace, as particularized herein, to a r t i f i c i a l l y i n f l a t e the
   26    market price of Hamlet common stock and                        to permit         the public
   27    offerings of the Common Stock.
   28

                                                  - 16 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 19 of 54 Page ID #:172



    1           35. The information about Hamlet contained i n the various
    2    s e c u r i t i e s analysts' reports, quoted herein, was obtained from or
    3    based on information obtained from Hamlet, as discussed above, and
    4    copies of drafts of these reports were provided            to the Hamlet
    5    defendants    and Hamlet top o f f i c e r s for review and approval or
    6    response by them.      Hamlet knew of these reports, t h e i r contents,
    7    that they were based on information provided by Hamlet, and that
    8    they would be issued to members of the investing public, be
    9    circulated throughout the investment community, impact the trading
   10    price of Hamlet common stock, and help permit the public offerings
   11    of the Common Stock.         Hamlet endorsed the contents        of these
   12    reports, adopted them as i t s own and placed i t s imprimatur on them
   13    as well as on the projections, forecasts and statements contained
   14    therein.     Despite t h e i r duty to do so, the defendants     f a i l e d to
   15    correct these statements during the Class Period.
   16           36. The investment community, and in turn, investors, r e l i e d
   17    and acted upon the information         communicated i n these written
   18    reports that recommended that investors purchase            Hamlet common
   19    stock based upon, the representations of well planned,             ambitious
   20    unit   growth and indications       of excellent    Company performance
   21    communicated thereby.     The defendants manipulated and inflated the
   22    market price of Hamlet stock in t h i s manner by f a l s e l y presenting
   23    to analysts, through regular meetings and during both telephonic
   24    and written communications, the prospects of the Company and by
   25    f a i l i n g to disclose the true adverse information about the Company
   26    that was known only to them.
   27
   28

                                           - 17 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 20 of 54 Page ID #:173



    1                                  CLASS ACTION ALLEGATIONS
    2          37. P l a i n t i f f brings t h i s action as a c l a s s action under
    3    Rules 23(a) and 23(b)(3) of the Federal Rules of C i v i l Procedure.
    4    The Class i s defined as a l l persons who purchased                               or otherwise
    5    acquired the common stock of Hamlet, Inc. from November 21, 1991
    6    through A p r i l 1, 1993, inclusive, and who sustained damage as a
    7    result    of such        purchases.            Excluded       from the Class are the
    8    defendants herein, members of t h e i r immediate families and any
    9    subsidiary, a f f i l i a t e or controlled person of any such person or
   10    entity.
   11          38. There are hundreds of holders of the Company's common
   12    stock and, as of November 1993, approximately                         4 million shares of
   13    common stock were outstanding.                  The stock i s a c t i v e l y traded i n an
   14    e f f i c i e n t market on the NASDAQ National Market System.                        The Class
   15    i s so numerous that joinder of a l l members i s impracticable.
   16          39. P l a i n t i f f ' s    claims are t y p i c a l of the claims of the
   17    members of the Class.                 P l a i n t i f f and a l l members of the Class
   18    sustained damages a r i s i n g out of defendants' conduct complained of
   19    herein i n violation of federal law.
   20          40. P l a i n t i f f       will     fairly     and adequately               protect the
   21    i n t e r e s t s of the members of the Class and has retained counsel
   22    competent and experienced                  i n c l a s s and s e c u r i t i e s    litigation.
   23    P l a i n t i f f has no interests which are contrary to or i n c o n f l i c t
   24    with those of the Class members he seeks to represent.
   25          41. A c l a s s action i s superior to other available methods for
   26    the f a i r   and e f f i c i e n t      adjudication of t h i s controversy since
   27    joinder of a l l members i s impracticable.                          Furthermore, as the
   28    damages suffered by individual                      members of the Class may be

                                                      - 18 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 21 of 54 Page ID #:174




    1    r e l a t i v e l y small, the expense and burden of individual l i t i g a t i o n
    2    make i t impossible for the members of the Class individually to
    3    redress the wrongs done to them.             There w i l l be no d i f f i c u l t y i n
    4    the management of t h i s action as a c l a s s action.
    5          42. Common questions of law and fact e x i s t as to a l l members
    6    of the Class and predominate over any questions affecting solely
    7    individual members of the Class.             Among the questions of law and
    8    fact common to the Class are:
    9                  (a) Whether the Securities Exchange Act was violated by
   10    defendants' acts as alleged herein;
   11                 (b) Whether defendants           participated       i n , pursued, or
   12    aided and abetted the concerted action or common course of conduct
   13    complained of;
   14                 (c) Whether the Company's reports to the SEC on Forms
   15    10-K and 10-Q, i t s reports to shareholders,                   i t s Registration
   16    Statement f i l e d with the SEC and i t s other publicly f i l e d and
   17    disseminated documents and other statements during the Class Period
   18    omitted and/or misrepresented material facts about the business and
   19    finances of the Company or otherwise f a i l e d to comply with the
   20    reporting requirements of the SEC;
   21                 (d) Whether the defendants acted w i l l f u l l y , knowingly or
   22    r e c k l e s s l y in omitting and/or misrepresenting these material facts,
   23    or i n conspiring to make or aiding and abetting the making of such
   24    misstatements;
   25                 (e) Whether the market price of Hamlet stock during the
   26    Class Period was a r t i f i c i a l l y   inflated   due to the conduct of
   27    defendants     complained      of herein,       including the alleged non-
   28    disclosures and/or misrepresentations; and

                                                - 19 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 22 of 54 Page ID #:175



    1                    ( f ) Whether the members o f the Class have sustained
    2    damages, and, i f so, the proper measure of such damages.
    3            43. P l a i n t i f f knows of no d i f f i c u l t y t h a t w i l l be    encountered
    4    i n the management o f t h i s              litigation        t h a t would preclude i t s
    5    maintenance as a class a c t i o n .
    6            44. The names and addresses of the record owners of Hamlet
    7    common stock purchased, o r otherwise acquired, d u r i n g the Class
    8    Period are a v a i l a b l e from Hamlet's t r a n s f e r agent.               Notice can be
    9    provided       t o such       record      owners        via   first      class      mail     using
   10    techniques and a form of n o t i c e s i m i l a r t o those employed i n class
   11    a c t i o n s a r i s i n g under the f e d e r a l s e c u r i t i e s laws.
   12                              SUMMARY OF THE TORTIOUS CONDUCT
   13           45. P r i o r      t o 1988,       Hamlet      had been         a p u b l i c company.
   14    However, i n May 1988 an i n v e s t o r group i n c l u d i n g defendant                 McFall
   15    took the Company p r i v a t e v i a a leveraged buy-out ("LBO") whereby
   16    the Company i n c u r r e d almost $30 m i l l i o n i n debt along w i t h other
   17    financial obligations.              I n p a r t because of the s u b s t a n t i a l i n t e r e s t
   18    payments which had t o be made every month t o s e r v i c e t h i s debt,
   19    Hamburger Hamlet i n c u r r e d a net loss f o r the f i s c a l years ended
   20    December 31, 1989 and December 30, 1990, and the t h i r t y - n i n e weeks
   21    ended September 30, 1990 and September 29,                         1991.
   22           46. This was an i n t o l e r a b l e            situation       f o r the     insiders,
   23    i n c l u d i n g the i n d i v i d u a l defendants.      To make matters worse, the
   24    lenders who had financed the LBO were c a l l i n g t h e i r debt, and the
   25    t i g h t c r e d i t market made a l t e r n a t i v e funding d i f f i c u l t t o o b t a i n .
   26    The only course a v a i l a b l e t o the i n s i d e r s was t o once again take
   27    the Company p u b l i c — a move which has been described as "a c l a s s i c
   28    step out of the LBO S u r v i v a l Manual."

                                                      - 20 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 23 of 54 Page ID #:176



    1           47. The problems which defendants faced                 i n attempting to
    2    market     an i n i t i a l   public   offering    ("IPO") were severalfold,
    3    including:
    4                  (a) The proceeds would be used to pay off the LBO debt,
    5    and would       therefore      not be available to grow the business.
    6    Investors would be reluctant to have IPO funds used simply to fund
    7    a bailout.
    8                  (b) The Company had l o s t money i n the prior two f i s c a l
    9    years as well as i n the f i r s t three quarters of each of those
   10    f i s c a l years.
   11                  (c) Certain members of the investment group were using
   12    the IPO as a means to s e l l some of t h e i r personal holdings i n the
   13    Company, which would be a red flag for investors.
   14                  (d) 1991 was a year during which many restaurant public
   15    offerings were made; so Hamlet would be j u s t one of many with
   16    l i t t l e to distinguish i t .
   17          48. To         overcome      these   problems,     defendants      falsely
   18    represented to the investing public that:
   19                  (a) once the LBO debt was r e t i r e d , the Company could and
   20    would be profitable and would steadily expand and continue to open
   21    new restaurants using internally-generated funds because
   22                          ( i ) a l l significant     restaurant   maintenance and
   23    renovations had been completed and would not r e s u l t i n additional
   24    expenses;
   25                          ( i i ) recently-opened restaurants were         providing
   26    substantially greater sales and earnings than had been expected,
   27    and that, because of well researched planning,             future restaurants
   28    would do the same; and

                                                - 21 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 24 of 54 Page ID #:177
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    1                           (iii)   general and administrative expenses had been
    2       trinuned, were well under control, and could be cut even more as the
    3       organization grew, such that they would continue to decrease as a
    4       percentage of increasing revenue;
    5                    (b) the Company's Chairman and CEO was i n for the long
    6       haul, would not s e l l         h i s stock, but, on the contrary, would
    7       purchase more stock because of h i s f a i t h i n the Company's future
    8       success and, moreover, the insiders' stock would be subject to a
    9       "lock-up" whereby no sales would be permitted for at least 270
   10       days; and
   11                    (c) Hamburger Hamlet offered a unique, well-established
   12       restaurant concept, which had recently been freshened to keep pace
   13       with the times, as determined and v e r i f i e d by continuous customer
   14       feedback.
   15             As    i s more    fully    alleged       below,    defendants       made these
   16       statements knowing or recklessly disregarding that they were false
   17       and misleading.
   18             49. Thereafter, to increase and maintain the price of i t s
   19       stock during the Class Period, Hamburger Hamlet needed to show (a)
   20       consistent revenue growth, (b) consistent earnings growth, and (c)
   21       continued j u s t i f i c a t i o n for a high price/earnings r a t i o .      Revenue
   22       growth was achieved through expansion of the chain v i a new-store
   23       openings,     which,    defendants        knew,      could     not be maintained.
   24       Earnings     growth     was     achieved       by,     inter      alia.   improperly
   25       c a p i t a l i z i n g pre-opening costs; postponing maintenance, upgrades,
   26       and remodeling        of older      restaurants;        failing    to write     off a
   27       $500,000 receivable         which       defendants      knew was     uncollectible;
   28       failing     to reserve        for a      lease    guarantee       obligation     which

        '                                            - 22 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 25 of 54 Page ID #:178



    1    defendants         knew would       be    triggered;       and    postponing        necessary
    2    marketing and          promotional expenses.               Justification         f o r a high
    3    price/earnings           ratio      was      provided        by      defendants'            false
    4    r e p r e s e n t a t i o n s t h a t t h e i r r e s t a u r a n t expansion program was   well
    5    planned      and    highly     successful, and            that    they could and            would
    6    continue t o open new r e s t a u r a n t s using i n t e r n a l l y - g e n e r a t e d funds.
    7           50.     Defendants' scheme was successful. Hamburger Hamlet went
    8    p u b l i c on November 21, 1991 (the beginning of the Class Period),
    9    w i t h the Company and two p r i n c i p a l shareholders s e l l i n g 2,572,525
   10    shares of common stock a t $11.50 per share, f o r t o t a l proceeds of
   11    almost $30 m i l l i o n .    Shortly t h e r e a f t e r , the stock p r i c e climbed t o
   12    $18 per share, f e l l back t o approximately the o f f e r i n g p r i c e , then
   13    climbed      again t o over         $20    per    share.         However, as        the     true
   14    c o n d i t i o n of the Company's business, i n t e r n a l problems, and f u t u r e
   15    prospects became known, the p r i c e of Hamburger Hamlet stock f e l l t o
   16    below $10 per share, and now s e l l s f o r approximately one-half the
   17    offering price.
   18                           THE FALSE AND MISLEADING STATEMENTS
   19           51.    On     November 21, 1991, the R e g i s t r a t i o n Statement                 and
   20    Prospectus         f o r the Hamlet i n i t i a l      public      offering,      signed      by
   21    defendants McFall, Brockman, Obernauer, Levie, and Backer, became
   22    effective.         The Prospectus s t a t e d :
   23                  The Company attempts t o d i f f e r e n t i a t e i t s e l f        from
   24           Competitors        through o p e r a t i o n a l excellence, speed of
   25           s e r v i c e and convenient l o c a t i o n s .     The Company believes
   26           t h a t the q u a l i t y of i t s food p r e p a r a t i o n , s e r v i c e and
   27           amenities are c r i t i c a l       t o i t s success,        and have been
   28           s i g n i f i c a n t l y enhanced by the close c o n t r o l a f f o r d e d by

                                                     - 23 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 26 of 54 Page ID #:179



    1          t h e company's ownership and operation o f each o f i t s
    2          restaurants. . . .
    3          . . . As p a r t o f management's [1988-1991] s t r a t e g y , t h e
    4          Company divested non-restaurant r e a l estate and s o l d two
    5          less     profitable          restaurants          n o t operated          under t h e
    6          Hamburger Hamlet name. . . .                       I n a d d i t i o n , t h e Company
    7          d i r e c t e d i t s resources toward enhancing t h e performance
    8          and image o f i t s restaurants                       by refocusing             on t h e
    9          Hamburger         Hamlet        concept,        modernizing            systems       and
   10          operations, standardizing the menu, remodeling selected
   11          r e s t a u r a n t s . and developing new r e s t a u r a n t s .
   12                  Having completed the sale of a l l non-essential r e a l
   13          estate      and having            streamlined           i t s operations, t h e
   14          Company's s t r a t e g y i s t o continue t o expand w i t h i n , and
   15          contiguous         t o , i t s existing              markets.            Management
   16          a n t i c i p a t e s opening a t l e a s t f i v e new r e s t a u r a n t s during
   17          t h e next twelve months.                  I n a d d i t i o n , t h e Company has
   18         . i d e n t i f i e d c e r t a i n p o t e n t i a l f u t u r e s i t e s and, subject t o
   19          market      conditions          and other          f a c t o r s , t h e Company's
   20          s t r a t e g y i s t o open a t l e a s t four r e s t a u r a n t s per year
   21          t h e r e a f t e r f o r t h e foreseeable        future.
   22                                                 *    * *
   23                  The Company r e l i e s p r i m a r i l y upon repeat customers
   24          and a t t r a c t s new customers through word-of-mouth. use of
   25          radio        and       print         advertising.             billboards.            and
   26          p a r t i c i p a t i o n i n cooperative a d v e r t i s i n g w i t h vendors.
   27          I n a d d i t i o n , t h e Company           engages        i n a v a r i e t y of
   28          promotional         activities.

                                                       - 24 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 27 of 54 Page ID #:180




    1                                           *    * *
    2          The Company also uses customer evaluations and a "mystery
    3          customer"      quality      control     program   to   independently
    4          monitor customer s a t i s f a c t i o n .
    5                                           *    * *
    6          . . . Existing restaurant leases have expirations ranging
    7          from    1993 through        2011 (excluding       existing   renewal
    8          options), with a l l but three leases having a remaining
    9          term of a t least four years (including existing renewal
   10          options). The Company does not anticipate any d i f f i c u l -
   11          t i e s renewing i t s existing leases as they expire. . . .
   12          52. On January 9, 1992 defendant McFall was quoted in The Los
   13    Angeles Times as saying that he intended to add to h i s stake i n
   14    Hamlet stock, thereby         implying that he had no intention to s e l l
   15    shares. This statement was f a l s e and misleading, because, in fact,
   16    defendant McFall had no intention of purchasing additional shares
   17    of Hamlet stock, but rather planned to s e l l tens of thousands of
   18    shares of h i s stock immediately upon expiration of the 270-day
   19    "lock-up" period following the IPO.
   20          53. On March 3, 1992, the Company issued a press release
   21    announcing i t s fourth quarter and f i s c a l year end earnings ended
   22    December 29, 1991. I n the release, defendant McFall was quoted as
   23    saying:
   24         We are well positioned to r e a l i z e our growth and p r o f i t
   25         potential.
   26                 Our new stores are a l l ahead of budget and we are
   27          very excited about t h e i r prospects.
   28

                                                 - 25 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 28 of 54 Page ID #:181



    1                  I look forward to our management team continuing to
    2           meet the company's objectives for growth. . . .                           We are
    3           t r u l y well positioned for s i g n i f i c a n t controlled growth
    4           i n the coming years.
    5           54.    On or about March 25, 1992, the Company distributed i t s
    6    1991    Annual Report          to   Shareholders.              In a     letter    signed   by
    7    defendants McFall and Brockman, the Company represented:
    8                  1991 was an extremely busy, t r a n s i t i o n a l year in the
    9           41-year history of Hamburger Hamlet Restaurants, one that
   10           created a strong foundation for what promises to be a
   11           very positive future for your company.
   12                                              *    *     *
   13           [W]e       are   well positioned            for    a    secure,    auspicious
   14           f i n a n c i a l future.
   15                                              *    *     *
   16           The Managed Growth Plan
   17                                              *    *     *

   18                  A     great    deal    of       time       and   effort     was     spent
   19           establishing architectural design standards which we are
   20           implementing throughout our expansion. . . . This look,
   21           now established, can be e a s i l y duplicated at an e f f i c i e n t
   22           cost i n a l l new locations.
   23                                              *    *     *
   24           Three New Stores Opened
   25                  In A p r i l , we opened a beautiful new                   location in
   26           Agoura H i l l s ,    California.             In October, we        opened a
   27           Hamburger Hamlet i n Arlington, V i r g i n i a .              Gaithersburg,
   28

                                                   - 26 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 29 of 54 Page ID #:182



    1            Maryland was the s i t e f o r our t h i r d new s t o r e , opened i n
    2            December.
    3                    When we opened the doors more than 600 e n t h u s i a s t i c
    4            guests streamed i n a t each l o c a t i o n .      Sales have exceeded
    5            our expectations, and we are o p t i m i s t i c t h a t the p o s i t i v e
    6            r e s u l t s w i l l continue.
    7            The T r a d i t i o n of Hamburger Hamlet
    8                    We recognize t h a t the s t a b i l i t y and consistency of
                                       •Q



    9            t h e Hamburger Hamlet restaurant i s t h e mainstay of our
   10            success.        Our s t a b l e core o f stores are very p r e d i c t a b l e
   11            i n terms of p r o f i t , which we f e e l can be maintained even
   12            i n these times of general economic recession.
   13                    We f i r m l y believe we can b u i l d on t h e f i n a n c i a l
   14            r e l i a b i l i t y and proven p r o f i t h i s t o r y o f t h e Hamburger
   15            Hamlet r e s t a u r a n t t o increase shareholder value.               Our
   16            s t r a t e g y i s t o increase sales and p r o f i t s through t h e
   17            a d d i t i o n o f new restaurants.      We expect t o open a t l e a s t
   18            f i v e new stores i n 1992 and hope t o add f i v e or more per
   19            year t h e r e a f t e r .
   20    Later      i n t h e Annual          Report,   t h e Company made        the following
   21    representations:
   22            Updating E x i s t i n g Locations
   23                    We are committed t o maintaining the highest i n t e r i o r
   24            standards i n a l l our restaurants.               Since so many of our
   25            very welcomed and appreciated guests are " r e g u l a r s " a t
   26            their     neighborhood Hamlets, we pamper them w i t h t h e
   27            utmost i n comfort and a t t r a c t i v e n e s s - always.
   28                                       * * *

                                                     - 27 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 30 of 54 Page ID #:183



     1         Liquidity and Capital Resources
    2          Management believes that the         reduction    of     debt     and
    3          resultant increase in cash flow w i l l enable the Company
    4          to finance the development and        opening of additional
    5          restaurants.
    6          55.   On March 25, 1992, Dean Witter Reynolds issued a report,
    7    written by D.J. Adelman, on Hamburger Hamlet.           That report, which
    8    was   written     i n consultation with    and   with    the    approval      of
    9    defendants McFall and Brockman, estimated 1992 earnings per share
   10    of $0.80 and 1993 EPS of $1.00. and, stated the following:
   11                EPS are projected to grow at a 20% compound annual
   12          rate from 1992-1995. Earnings and revenue growth w i l l be
   13          driven primarily by new unit expansion.      We estimate that
   14          the company w i l l open four units in both 1992 and            1993.
   15          We    consider   these   estimates    conservative,       and      we
   16          anticipate that over time the company should be able to
   17          open s i x units per year that can be financed internally
   18          out of cash flow. . . .      Total revenue i s forecasted to
   19          grow at a 16% compound annual rate, and we estimate that
   20          sales w i l l reach $100 million by 1995. . . .
   21          ...     Earnings per share are forecasted to grow Tat") a
   22          20% compound annual rate, somewhat more slowly than the
   23          projected rate     of pretax    income growth, due        to     the
   24          issuance of new     shares in the firm's i n i t i a l public
   25          offering.
   26                Strong free cash flow w i l l enable faster expansion.
   27
   28

                                           - 28 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 31 of 54 Page ID #:184



    1          56.   On A p r i l 30, 1992,           the Company issued a press release
    2    announcing a new         restaurant opening.                       In the release, defendant
    3    Brockman i s quoted as saying:
    4                A l l of     our   new   restaurants                   are     exceeding     their
    5          proi ected     revenues.       .       .       .       and    we     anticipate        the
    6          Northridge, California store w i l l meet or exceed i t s
    7          projections.
    8                The    Company's plan            for growth and                   expansion i s
    9          working. . . .
   10          57.   On May     8, 1992,      Dean Witter Reynolds issued a research
   11    report on Hamburger Hamlet, written by D.J. Adelman. That report,
   12    which was drafted i n consultation with and with the approval of
   13    defendants McFall and Brockman, stated the                               following:
   14          Hamlet i s currently trading at 18.4                           times our 1992          EPS
   15          estimate of $0.80. which places i t at a modest discount
   16          to the other f u l l - s e r v i c e restaurant stocks we monitor.
   17          Our twelve-month target price i s $18.
   18                                             *       *       *
   19          The leveraging of general and administrative costs over
   20          the next several years             i s one               of the key          reasons    we
   21          anticipate that earnings can                           grow s i g n i f i c a n t l y more
   22          rapidly than sales.
   23                                             *       *       *
   24                We continue to forecast four new restaurant openings
   25          in 1992;     EPS    of $0.80.              For the            full    1992    year,     we
   26          continue to forecast that four new Hamburger Hamlets w i l l
   27          open, and that the company w i l l achieve aggregate sales
   28          of $65 million. We believe that the company w i l l achieve

                                                  - 29 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 32 of 54 Page ID #:185



    1            an increase in same-store sales in the range of 1-2%. an
    2            operating p r o f i t margin of 8.5%.            net income of         S3.2
    3            million, and     earnings per share of $0.80.                  Our     1993
    4            earnings per share forecast also remains unchanged at S i .
    5            58.     On or about May 11, 1992, the Company published i t s Form
    6    10-Q,    signed by defendant Brockman, for the quarter ending March
    7    29, 1992.        The following statements were made in that report:
    8                    Net income for the three months ended March 29, 1992
    9            increased to $654,000, or $0.16 per share compared to a
   10            net loss of ($285,000),            or ($0.15) per share for the
   11            three months ended March 31,             1991.
   12                                           *    *     *
   13                    The   Company       anticipates          that    its     capital <,
   14            expenditures program for expansion w i l l be funded from
   15            internal operations, building to s u i t lease agreements
   16            with landlords, equipment leasing packages and borrowings
   17            under     its   existing      $6     million       aggregate         credit
   18            facilities.        Management        believes       that    there       are
   19            s u f f i c i e n t funds available from these sources to fund i t s
   20            existing expansion plans.
   21            59.     On or about May     26, 1992, the Company issued i t s F i r s t
   22    Quarter Report to Shareholders.                 In a l e t t e r signed by    defendants
   23    McFall and Brockman, the Company stated:
   24                  We opened a beautiful new restaurant in Northridge,
   25            California in A p r i l .     Keeping in l i n e with our rapid
   26            growth and expansion strategy, four additional locations
   27            w i l l be opened throughout the remainder of the- year.
   28            These additions w i l l bring our t o t a l number of operating

                                                - 30 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 33 of 54 Page ID #:186



    1           restaurants t o 31 by year end, f u r t h e r increasing our
    2           p r o f i t base.
    3                                   .          * * *
    4                  The Company i s w e l l p o s i t i o n e d t o r e p o r t p o s i t i v e
    5           r e s u l t s throughout 1992. and we are confident t h a t our
    6           long-term view i s secure.
    7                  Hamburger Hamlet's many a t t r i b u t e s remain as our
    8           strong foundation - the support o f our guests, b e a u t i f u l
    9           restaurants. superb food q u a l i t y , e n t i c i n g new products,
   10           and t h e t a l e n t and professionalism o f our s t a f f .
   11           60. On J u l y 15, 1992, t h e Company issued                     a press      release
   12    announcing record sales a t i t s newest r e s t a u r a n t .            I n the release,
   13    defendant McFall i s quoted as saying:
   14           A l l o f t h e new l o c a t i o n s have exceeded t h e i r projected
   15           revenues, and we a n t i c i p a t e t h a t t h e restaurants              will
   16           continue      t o perform       strongly.          We f u l l y    expect t o
   17           continue increasing our p r o f i t base as each new l o c a t i o n
   18           i s opened.
   19           61. On J u l y 21, 1992, L.H. Friend, Weinress & Frankson, Inc.,
   20    published     a s e c u r i t i e s analyst r e p o r t w r i t t e n by S.D. Weinress.
   21    That r e p o r t , which was w r i t t e n i n c o n s u l t a t i o n w i t h and w i t h the
   22    approval of defendants McFall and Brockman, estimated 1992 earnings
   23    per share o f $0.80. 1993 EPS o f Si.10 and s t a t e d t h e f o l l o w i n g :
   24                  RECOMMENDATION: BUY
   25                                              * * *
   26                  Management, a f t e r a c q u i r i n g [Hamburger Hamlet] i n an
   27           LBO (May o f 1988),            revitalized        t h e company        through
   28           remodeling          existing     units.      instituting          a    focused

                                                   - 31 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 34 of 54 Page ID #:187



    1          expansion     program.    and     putting   i n place    controls
    2          capable of operating a considerably larger restaurant
    3          chain. . . . Our conservative expectation projects a 25%
    4          annual   earnings growth the next three to f i v e years.
    5          This growth merits a higher valuation i n the marketplace.
    6          62. On August 3, 1992, the Company issued a press release
    7    announcing second quarter earnings.           The press release reported:
    8                 Net income for the s i x months ended June 28, 1992,
    9          was $1.36 million or $0.33 per share. This compares with
   10          a net loss of ($363,000) or ($0.19) per share for the
   11          prior comparable period i n 1991.
   12                                       *    * *
   13                 "[We are] pleased with our second quarter r e s u l t s , "
   14          said   Thomas A. McFall,         chairman and chief     executive
   15          officer . . . .      "We reported strong increases i n both
   16          net income and income from operations, and our new store
   17          revenues continue to be strong."
   18          63. On or about August 10, 1992, the Company f i l e d i t s Form
   19    10-Q for the quarter ending June 28, 1992. I n that report, signed
   20    by defendant Brockman, the Company stated:
   21                 The   Company     anticipates        that   its    capital
   22          expenditures program for expansion w i l l be funded from
   23          internal operations, funding provided by build-to-suit
   24          leases, equipment leasing packages and borrowings under
   25          i t s existing   $6 million aggregate credit          facilities.
   26      , Management believes that there are s u f f i c i e n t        funds
   27          available    from these     sources     to fund    the Company's
   28          existing expansion plans.

                                            - 32 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 35 of 54 Page ID #:188



     1         64.   On    or about August 31,        1992,     the Company issued i t s
    2    Second Quarter Report to Shareholders.                 In a l e t t e r signed   by
    3    defendants McFall and Brockman, the Company made the following
    4     statements:
    5                The second quarter of f i s c a l 1992 was a quarter of
    6          accomplishment for Hamburger Hamlet Restaurants, Inc.
    7          Even in the l i g h t of a general economic recession, and
    8          the r i o t s i n Los Angeles,      our company reported strong
    9          increases in net income, income from operations,                     and
   10          t o t a l revenues.   Achieving these positive r e s u l t s under
   11          difficult     circumstances       confirms     the   consistency     and
   12          prosperity of our organization.
   13                                        *    *   *
   14                Our    Valencia, California Hamburger Hamlet opened
   15          June 9 to a record setting number of guests.              I t has been
   16          the most successful opening in our history. . . .
   17                Wheaton, I l l i n o i s marked the s i t e     for the    third
   18          Hamburger Hamlet opened in 1992 on August 4. . . .                    We
   19          are enthusiastic about the Wheaton store, as                    initial
   20          guest attendance i s far exceeding our expectations.
   21                                        *    *   *
   22                We    are pleased with our r e s u l t s during the          first
   23          half of 1992 and anticipate even greater success for the
   24          remainder of the year.
   25                As we go forward, we w i l l continue to execute               our
   26          growth and expansion       plan as our strategy i s working.
   27          The addition of new       restaurants favorably impacts              our
   28

                                             - 33 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 36 of 54 Page ID #:189



    1            earnings,    while       our     core   of        existing stores       remain
    2            profitable and consistent.
    3                  We are targeting the addition of at l e a s t s i x new
    4            stores i n 1993, and each year thereafter.
    5            65.   On October 23, 1992, defendant McFall was quoted in the
    6    PR     Newswire as     saying,         i n connection with the               third   quarter
    7    earnings announcement, "These extremely positive                              third-quarter
    8    r e s u l t s further prove that our                growth and      expansion plans       are
    9    working."
   10            66.   On or about November 9, 1992, the Company f i l e d i t s Form
   11    10-Q    for the quarter ending September 27, 1992.                       This Form, signed
   12    by defendant Brockman, stated the                    following:
   13                  Income from operations for the three months ended
   14            September 27, 1992 increased 75.2% to $1.45 m i l l i o n from
   15            $830,000 for the three months ended September 29,                        1991.
   16            The   increase     was     due    primarily         to   the     addition    of
   17            revenues from five new restaurants opened since September
   18            29,   1991   and     changes       in       the    relationships       between
   19            revenues and expenses discussed above.
   20                                              *     *     *
   21                  The     Company          anticipates           that      its    capital
   22            expenditures program for expansion w i l l be funded from
   23            internal operations,           funding provided by build-to-suit
   24            leases, equipment leasing packages and borrowings under
   25            i t s existing $7.5 million aggregate c r e d i t f a c i l i t i e s .
   26            Management believes            that     there      are   sufficient      funds
   27            available    from these           sources to         fund      the   Company's
   28            existing expansion plans.

                                                    - 34 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 37 of 54 Page ID #:190



    1          67.    On or about November 30, 1992, the Company distributed
    2    i t s Third Quarter Report to Shareholders.                  In a l e t t e r signed by
    3    defendants McFall and Brockman, the Company stated:
    4                 We are very pleased with the performance of our new
    5          restaurants, and remain confident that t h e i r positive
    6          impact w i l l continue.
    7                 Lease negotiations are progressing very well on a
    8          variety of high quality locations in a l l of our markets.
    9          We plan to open at least 6 of these superior locations
   10          during 1993.
   11          68.    On January 25, 1993, an interview with defendant McFall
   12    was published in The Wall Street Transcript.                      In that interview,
   13    defendant McFall was quoted as saying:
   14          I see us going from 30 stores to 60 stores over the next
   15          four to f i v e years. We have the systems, the people and
   16          places to do i t .
   17          [T]he r e a l       growth story of Hamburger Hamlet i s the
   18          opening of new         stores.        We   are primed for      expansion.
   19          We've b u i l t our overhead, we've b u i l t our control systems
   20          and have spent money to open 100 additional stores.
   21                                            *    *   *
   22                 When we f i r s t restructured ourselves four years ago,
   23          we    spent    a l o t of money on          capital    expenditures       to
   24          improve       the    underlying       company.        Now    we're   in   a
   25          maintenance mode, and i f anything, I see a decrease in
   26          our c a p i t a l expenditures.
   27                                            *    *   *
   28

                                                 - 35 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 38 of 54 Page ID #:191



    1          We believe our stock i s an extraordinary bargain. . . .
    2          Our e f f o r t s have certainly been productive and hopefully
    3          some day people w i l l r e a l i z e that we shouldn't be at the
    4          low end, and we should be at the high end.
    5                                        *    * *
    6          I think one of the things that i s very much overlooked i s
    7          that our general and administrative expenses are fixed.
    8          We've already spent the money on infrastructure, we've
    9          already hired the management, we've already got ourselves
   10          poised for growth.
   11                                        *    * *
   12          We want to continue         to deliver a predictable, strong
   13          earnings base without giving our investors a tremendous
   14          amount of r i s k . . . .     I think you need to look at the
   15          predictability      of      earnings,      and    ours         are   very
   16         predictable.
   17          69. On February 22, 1993, the Company issued a press release
   18    announcing somewhat disappointing 1992 fourth quarter                      earnings.
   19    Nonetheless,    the press release stated:
   20                "Overall, 1992 was an excellent year for Hamburger
   21          Hamlet   Restaurants,       Inc.,"      said   Thomas     A.     McFall,
   22          chairman and chief executive             officer.        "We    achieved
   23          dramatically     improved      sales     and     operating       profits
   24          compared to the previous             year."      "Additionally, we
   25          successfully opened         five   new    Hamburger Hamlets, as
   26          planned, each of which has proven very successful i n
   27          contributing to our improved r e s u l t s . "    "In reviewing the
   28          year, we are pleased that same-store revenues remained as

                                              - 36 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 39 of 54 Page ID #:192
                       f
    1          strong as they did i n view of the prevailing d i f f i c u l t
    2          economic environment."
    3                 "1992   was   a year   of growth, accomplishment       and
    4          learning for Hamburger Hamlet Restaurants, Inc.," said
    5          McFall.     "We have learned a great deal from the year, and
    6          more importantly, we have proven we can respond to, and
    7          manage the challenges that face a l l companies in the
    8          1990s."
    9                 "We believe that the positive momentum b u i l t up in
   10          1992   w i l l continue   into 1993." said McFall.      "We   are
   11          optimistic that the a b i l i t y to obtain beneficial lease
   12          terms w i l l remain, presenting us with a wide variety of
   13          exciting locations to choose from."         "We plan to open at
   14          l e a s t s i x new restaurants in 1993."
   15    I n explanation of the disappointing fourth quarter r e s u l t s , the
   16    press release stated:
   17          "In the fourth quarter, h i s t o r i c a l l y not our strongest
   18          quarter, we f e l t the effects of Southern California's
   19          soft economy, which led to the s l i g h t decrease i n same
   20          store revenues during the quarter," said McFall.              In
   21          addition, our margins came under pressure during              the
   22          fourth quarter for the f i r s t time in the past twelve
   23          months....
   24          "Once again, our general and administrative costs as a
   25         percentage of revenues continued to decrease during the
   26         quarter," McFall continued.        This further validates our
   27          a b i l i t y to grow while continuing to manage our general
   28          and administrative expenses.

                                             - 37 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 40 of 54 Page ID #:193



    1          70.   On    February   25, 1993,       Dean Witter Reynolds issued an
    2    analyst report written by D.J. Adelman.                That report, which was
    3    written i n consultation with and with the approval of               defendants
    4    McFall and Brockman, stated the following:
    5                Although [fourth quarter] r e s u l t s were below our
    6          expectations, we note that Hamburger Hamlet continues to
    7          outperform i t s competitor on a same-store sales basis in
    8          the California market. We anticipate that the Company's
    9          near-term earnings prospects w i l l remain a function of
   10          new-store performance, as we estimate that               same-store
   11          p r o f i t s during fourth-quarter 1992 declined approximately
   12          $200,000.     The Company plans to open s i x new Hamburger
   13          Hamlets during 1993.
   14                                        *    *    *
   15                We continue to forecast s i x new restaurant openings
   16          i n 1993 and earnings per share of SO.90.             For the f u l l
   17          1993 year, we continue to forecast that s i x new Hamburger
   18          Hamlets w i l l open, and that the company w i l l          achieve
   19          aggregate    sales of $75 million.          We   believe that the
   20          company w i l l have f l a t same-store      sales, an operating
   21          p r o f i t margin of 8.5%,   net income of S3.7 million and
   22          earnings per share of SO.90. Our estimates do not assume
   23          a meaningful recovery in the California economy.
   24          71.   On or about March 22, 1993, the Company f i l e d i t s Form
   25    10-K with the SEC for the f i s c a l year ended December 27,                 1992.
   26    That report, signed by defendants McFall, Brockman, Backer, Levie,
   27    and Obernauer, stated:
   28

                                             - 38 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 41 of 54 Page ID #:194



    1                  The opening           o f these       [ f i v e ] new r e s t a u r a n t s    [in
    2          1992] r e s u l t e d i n t h e desired e f f e c t o f i n c r e a s i n g t h e
    3          Company's revenues and decreasing expense as a percentage
    4          o f revenue.
    5                                                  *    * *
    6                  The Company intends t o continue i t s s t r a t e g y of
    7          adding        restaurants           through        controlled        growth           into
    8          existing        markets        and i n t o       areas     contiguous         to       its
    9          e x i s t i n g markets.         The Company a n t i c i p a t e s opening a t
   10          l e a s t s i x new r e s t a u r a n t s d u r i n g the next twelve months.
   11          72. On or about March 26, 1993, t h e Company d i s t r i b u t e d i t s
   12    1992 Annual Report              t o Shareholders.                In a letter           signed by
   13    defendants McFall and Brockman, t h e Company s t a t e d :
   14                  These        increases           [ i n revenues,          . income - from
   15          operations, and net income] were a t t r i b u t e d t o revenues
   16          from e i g h t new r e s t a u r a n t s opened over t h e past two
   17          years.        We are e n t h u s i a s t i c t h a t our plan t o increase
   18          profits       and maximize shareholder                    value     through           unit
   19          expansion i s working.
   20                                                  *    * *
   21                  Remodeling our e x i s t i n g r e s t a u r a n t s i s always a
   22          priority,        as we are dedicated t o presenting a f r e s h .
   23          modern look f o r our welcomed guests throughout a l l o f our
   24          locations.
   25                                                  *    * *
   26                  Lease n e g o t i a t i o n s are progressing very w e l l on a
   27          v a r i e t y of high q u a l i t y l o c a t i o n s .   We plan t o open i n a t
   28

                                                        - 39 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 42 of 54 Page ID #:195



    1          l e a s t s i x of these superior s i t e s during 1993 and each
    2          year thereafter.
    3                                          *   * *
    4                In November of 1991, we became a public company. We
    5          thank our shareholders         for giving us the c a p i t a l needed
    6          to accomplish our ambitious expansion program. By adding
    7          new restaurants and maximizing our p r o f i t s at existing
    8          restaurants,     we believe we w i l l        continue steady and
    9          s t r a t e g i c growth well into our future.
   10    Later i n the Annual Report, the Company stated that "[t]he Hamlet
   11    menu features       more than    130 delectable          dishes."           that   "[o]ur
   12    restaurants    look    and f e e l    more   like      a private        club       than a
   13    restaurant," and that "[a]11 locations follow the Hamlet design
   14    standards . . . ."          Under the heading "Liquidity and Capital
   15    Resources," the Company stated:
   16          The Company anticipates that i t s c a p i t a l expenditures
   17          program for future expansion w i l l be funded from internal
   18          operations,     funding provided by build-to-suit leases,
   19          equipment     leasing packages and borrowings under i t s
   20          existing      $3.5   million        line    of    credit        facility.
   21          Management believes        that     there   are s u f f i c i e n t    funds
   22          available from these sources to cover the Company's cash
   23          requirements.
   24          73. The foregoing         representations         made during           the Class
   25    Period   were each false and misleading when made i n that they
   26    concealed and f a i l e d to disclose, inter a l i a , the following adverse
   27    information concerning the Company and i t s business, disclosure of
   28    which was necessary to make the statements made not misleading, and

                                               - 40 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 43 of 54 Page ID #:196



     1   which     i n f o r m a t i o n was known t o defendants        from i n t e r n a l Hamlet
     2   corporate data:
     3                   (a) The        Company's        "expansion      strategy"       had     been
     4   formulated w i t h o u t b e n e f i t o f p r o f e s s i o n a l marketing surveys, and,
     5   i n f a c t , t h e Company's expansion was n o t pursuant t o a coherent,
     6   well-thought-out s t r a t e g y a t a l l , b u t r a t h e r was haphazard and ad
     7   hoc, wholly l a c k i n g i n o r d e r l y or long-term milestones or goals;
     8                   (b) Hamlet had not performed any adequate f e a s i b i l i t y
     9   studies       showing       that     i t s expansion       plans      were   feasible      or
   10    achievable or t h a t Hamlet had s u f f i c i e n t f i n a n c i a l c a p a b i l i t y t o
   11    finance t h a t expansion program;
   12                    (c) Opening         new r e s t a u r a n t s could    not be financed
   13    through i n t e r n a l l y generated         funds or i n c o n j u n c t i o n w i t h the
   14    Company's r e v o l v i n g l i n e o f c r e d i t , but r a t h e r would r e q u i r e t h e
   15    Company t o continuously increase i t s debt load, thereby i n c u r r i n g
   16    increasing interest              obligations       which    would     adversely       affect
   17    earnings and earnings per share;
   18                   (d) I n        addition        to    needing     additional        external
   19    f i n a n c i n g , t h e Company's expansion plans c r i t i c a l l y r e l i e d on i t s
   20    a b i l i t y t o maintain or increase revenues and earnings from the
   21    o l d e r r e s t a u r a n t s , which,   f o r t h e reasons s t a t e d   h e r e i n , was
   22    u n l i k e l y , but w i t h o u t which t h e expansion program would collapse;
   23                   (e) I n order t o a r t i f i c i a l l y increase reported earnings,
   24    the Company improperly c a p i t a l i z e d pre-opening expenses f o r i t s new
   25    r e s t a u r a n t s and was amortizing those expenses over an unreasonable
   26    p e r i o d o f time, namely, two years;
   27                   ( f ) I n c o n t r a s t t o defendants' glowing r e p o r t s about the
   28    r e s u l t s from newly-opened restaurants, i n f a c t defendants knew t h a t

                                                      - 41 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 44 of 54 Page ID #:197



    1    they were     failing     to provide Hamburger Hamlet with             planned,
    2    forecast, and/or adequate return on investment so as to j u s t i f y the
    3    s i g n i f i c a n t costs involved i n opening and then operating these
    4    additional outlets;
    5                (g) The Company was unreasonably deferring necessary
    6    restaurant maintenance, upgrades, and remodeling so as to avoid
    7    incurring expenses which would adversely impact net income and
    8    earnings per share;
    9                 (h) Despite the Company's statements about remodeling,
   10    the Company had extensive remodeling s t i l l to perform, because most
   11    of the restaurants retained t h e i r dated look, and t h i s would
   12    involve substantial expense which would adversely affect net income
   13    and earnings per share;
   14                ( i ) The combination of new unit openings and necessary
   15    remodeling of older units would and did leave the Company with
   16    increasing financing requirements during the Class Period which
   17    made defendants' publicly stated "expansion strategy" impossible to
   18   achieve;
   19                ( j ) I n connection        with   the sale     of   one   of i t s
   20    restaurants    prior    to the IPO, the Company had taken a note
   21    receivable and had guaranteed the purchaser's obligations under i t s
   22    lease.     I n order to i n f l a t e   assets   and earnings by material
   23    amounts, the Company f a i l e d        to disclose    and reserve     for the
   24    guarantee and f a i l e d to write-off or reserve against the note, even
   25    though defendants knew that payment of the note by the purchaser
   26    was highly     unlikely    and that      Hamlet's     obligations   under the
   27    guarantee would be triggered;
   28

                                             - 42 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 45 of 54 Page ID #:198



     1                 (k) Hamlet f i n a n c i a l statements during the Class Period
    2    overstated Hamlet net income, earnings per share and stockholders'
    3    equity because the Company f a i l e d to properly expense costs and
    4    obligations and to write-off certain assets and c a p i t a l items or to
    5    establish adequate reserves;
    6                  (1) Hamlet was not f a i r l y presenting or reporting i t s
    7    r e s u l t s from operations and i t s f i n a n c i a l statements i n conformity
    8    with GAAP and SEC requirements;
    9                  (m) Hamlet was suffering from s i g n i f i c a n t management
   10    f a i l u r e s , shortcomings, and disagreements at the highest levels
   11    over the Company's expansion plans and accounting practices, which
   12    disagreements led to the replacement of defendant Brockman as Chief
   13    Financial Officer, and ultimately h i s resignation as president;
   14                 (n) Demand for the Company's product had softened, and
   15    restaurant managers and the customers themselves had indicated that
   16    promotions and discounts would be necessary i n order to maintain
   17    sales, which would adversely affect earnings and the Company's
   18    a b i l i t y to expand;
   19                 (o) Defendants          knew    that   Hamlet's    customer     base
   20    consisted primarily of aging, repeat customers, that frequency of
   21    use had declined, and that new customers would have to be attracted
   22    v i a promotions,          fresher    menu    items,   and     more   appealing
   23    surroundings, a l l of which would increase expenses and adversely
   24    impact earnings and the a b i l i t y to open new restaurants;
   25                 (p) The Hamburger Hamlet menu had become too large to be
   26    profitable, because inventories were d i f f i c u l t and expensive to
   27    manage, product consistency was suffering, and longer service times
   28

                                                - 43 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 46 of 54 Page ID #:199




     1   were necessary, a l l of which had a negative impact on sales and
    2    earnings;
    3                 (q) Defendants knew from            in-store     surveys and from
    4    feedback by t h e i r store managers that, for Southern                California,
    5    Hamlet's    menu had become outdated,             with    potential customers
    6    demanding     fresher,     lower-calorie selections           rather    than the
    7    Company's     traditional      emphasis     on   heavy    foods    and oversize
    8    portions, a l l of which was having an adverse effect on sales and
    9    earnings i n the Company's core market;
   10                 (r) Other hamburger chains were offering customers price
   11    discounts i n Southern California and elsewhere which was putting
   12    the Company at a competitive disadvantage and which would require
   13    Hamlet to lower i t s prices to stay competitive, thereby decreasing
   14    earnings and cash flow and impairing the Company's a b i l i t y to open
   15    additional units;
   16                 (s) The Company knew that the leases on a number of i t s
   17    older   restaurants were         approaching     termination      and that r e -
   18    negotiation of those leases would r e s u l t i n higher rental costs or
   19    the loss of important leases, both of which would adversely affect
   20    earnings and impair the Company's a b i l i t y to expand; and
   21                 (t) Defendants had no adequate basis i n fact for their
   22    positive statements, forecasts and projections regarding revenue
   23    growth, earnings growth, reduction of expenses, and expansion of
   24    f a c i l i t i e s , a l l of which were c r i t i c a l to the market's evaluation
   25    of the Company's stock.         Rather, defendants possessed undisclosed
   26    information d i r e c t l y contrary to t h e i r public statements including,
   27    inter a l i a , that they faced a s h o r t f a l l of internally        generated
   28    funds to finance expansion; that their "expansion strategy" lacked

                                               - 44 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 47 of 54 Page ID #:200



    1    proper foundation and was the subject of intense dissension and
    2    c o n f l i c t among top management; that substantial necessary expenses
    3    which had long been postponed would soon have to be incurred at the
    4    expense of earnings; that Hamlet was suffering a deterioration in
    5    true earnings as competition was forcing the Company to adopt price
    6    cuts and menu changes; and that t h e i r              restaurants suffered a
    7    s i g n i f i c a n t marketing   disadvantage as a r e s u l t of dated   decor,
    8    aging f a c i l i t i e s ,   a heavy menu, and lack of promotions.
    9                                   THE TRUE FACTS ARE REVEALED
   10            74. Beginning on A p r i l 1, 1993 and continuing throughout 1993
   11    and into         1994, the true facts        about Hamlet and i t s internal
   12    problems were revealed.              On A p r i l 1, i n a special news release,
   13    Hamlet announced that, notwithstanding the upbeat statements about
   14    the decrease i n fourth quarter 1992 earnings, i t s f i r s t quarter
   15    1993 same-store revenues were l i k e l y to be 5.1% below those of the
   16    preceding year, implying that earnings would be adversely impacted
   17    by a substantial              amount.    During   the subsequent   months, the
   18    following facts, inter a l i a , were revealed:
   19                     (a) The Company announced f i r s t quarter. 1993 earnings of
   20    only $0.11 per share, over 30% below the prior quarter's earnings,
   21    over 30% below earnings for the f i r s t quarter of 1992, and well
   22    below the Class Period earnings estimates published by s e c u r i t i e s
   23    analysts i n consultation with and with the approval of the Company;
   24                     (b) Second quarter 1993 earnings dropped even more, to
   25    only $0.05 per share, a decrease of more than 50% from the prior
   26    quarter, a decrease of more than 70% from the second quarter of
   27    1992, and well below the Class Period earnings estimates published
   28

                                                  - 45 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 48 of 54 Page ID #:201



    1    by s e c u r i t i e s analysts i n c o n s u l t a t i o n w i t h and w i t h t h e approval
    2    o f t h e Company;
    3                   (c) T h i r d quarter 1993 earnings                 were only $0.10 per
    4    share, over 50% below earnings f o r t h e t h i r d quarter of 1992, and
    5    well    below t h e Class Period               earnings       estimates       published       by
    6    s e c u r i t i e s analysts i n c o n s u l t a t i o n w i t h and w i t h t h e approval of
    7    t h e Company;
    8                   (d) I n the f o u r t h quarter o f 1993, the Company posted a
    9    loss f o r t h e f i r s t f u l l quarter since t h e IPO;
   10                   (e) The Company t h e r e f o r e reported f i s c a l 1993 r e s u l t s
   11    d r a s t i c a l l y below those which had been f o r e c a s t during t h e Class
   12    Period w i t h t h e concurrence and support o f t h e Company;
   13                   ( f ) The Company was forced t o close i t s Woodland H i l l s
   14    s t o r e because i t was unsuccessful i n n e g o t i a t i n g a new lease.              That
   15    r e s t a u r a n t , t h e r e f o r e , had t o be r e l o c a t e d , a t great expense, which
   16    adversely a f f e c t e d earnings;
   17                   (g) Defendant           Brockman,       who     had     served      as     Chief
   18    F i n a n c i a l O f f i c e r , was replaced i n t h a t p o s i t i o n by Douglas Haley;
   19                   (h) The Company w r o t e - o f f a note receivable                      i n the
   20    amount o f $486,000 and reserved approximately $65,000 f o r p o t e n t i a l
   21    f u t u r e lease o b l i g a t i o n s and l e g a l fees;
   22                   ( i ) I n order t o promote sales, t h e Company introduced
   23    necessary menu promotions whereby discounts were given and specials
   24    were run;
   25                   ( j ) The Company announced a program of renovating and/or
   26    remodeling a l l o f i t s Southern C a l i f o r n i a r e s t a u r a n t s ;
   27                   (k) The Company announced a decrease i n t h e number of
   28    stores i t expected t o open i n 1993;

                                                     - 46 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 49 of 54 Page ID #:202




    1                       (1)   The Company adopted a new menu and launched                                 an
    2    expensive marketing                effort       i n order         t o address         t h e problems
    3    defendants had known e x i s t e d d u r i n g t h e Class Period; and
    4                       (m)   Defendant Brockman resigned as President of Hamlet.
    5            75.     As a r e s u l t o f t h e r e v e l a t i o n o f t h e foregoing f a c t s , the
    6    p r i c e o f Hamlet stock decreased t o less than $6 per share - 70%
    7    below i t s Class Period high o f approximately $21 per share.
    8                                               INSIDER SALES
    9            76.     While Hamlet and i t s o f f i c i a l s were i s s u i n g favorable
   10    statements about Hamlet's finances, business and f u t u r e prospects,
   11    c e r t a i n i n d i v i d u a l defendants sold 114,500 shares of t h e Company's
   12    common stock they owned f o r proceeds of over $2 m i l l i o n , thereby
   13    p r o f i t i n g from t h e a r t i f i c i a l i n f l a t i o n i n t h e p r i c e o f t h e stock
   14    which t h e i r t o r t i o u s conduct had created.                    Notwithstanding t h e i r
   15    access t o c o n f i d e n t i a l i n f o r m a t i o n as a r e s u l t o f t h e i r s t a t u s as
   16    d i r e c t o r s and/or o f f i c e r s of t h e Company and t h e i r               corresponding
   17    duty t o d i s c l o s e t h e adverse m a t e r i a l f a c t s s e t f o r t h h e r e i n , the
   18    i n d i v i d u a l defendants,       as l i s t e d below, s o l d Hamlet shares a t
   19    f o l l o w i n g i n f l a t e d p r i c e s d u r i n g t h e Class P e r i o d :

   20        Name                    Date              Shares            Price                     Proceeds
   21    M c F a l l , T.         09/25/92              2,500            14.5                  $    36,250
                                  09/28/92              2,500            14.5                  $    36,250
   22                             09/30/92              2,000            15.5                  $    31,000
                                  11/20/92              1,500            17.5                  S    26,250
   23                             11/20/92              1,000            17.25                 $    17,250
                                  11/25/92              2,500            16.88                 S    42,200
   24                             11/25/92              1,000            17.25                 $    17,250
                                  12/01/92              4,000            17.25                 $    69,000
   25                             12/07/92              7,000            20                    $   140,000
                                  12/08/92             22,500            19.89                 $   447,525
   26                             12/16/92              1,000            18                    $    18,000
                                  12/21/92              5,000            18.5                  $    92,500
   27                             12/29/92             50.000            17.5                  $   875.000
                                                      102.500                                  $1 .848.475
   28

                                                          - 47 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 50 of 54 Page ID #:203
                                                           •



    1    Levie, A.         11/04/92         2.000          16.5              $     33.000
                                            2.000                            $     33.000
    2
         Brockman, P.     12/04/92           4,000         18.75             $     75,000
    3                     12/04/92           6.000         19                $    114.000
                                            10.000                           $    189.000
    4
         Grand Total                     114.500                             $2 .070.475
    5
    6                          PLAINTIFF'S CLAIMS FOR RELIEF
    7                                        COUNT I
    8                       CLAIM FOR VIOLATIONS OF §10(b) OF
                             THE EXCHANGE ACT AND RULE lOb-5
    9                              AGAINST ALL DEFENDANTS
   10          77.   P l a i n t i f f incorporates by reference 551 through 76. This
   11    Count i s asserted against a l l defendants.
   12          78.   During the Class Period, the defendants individually and
   13    i n concert, d i r e c t l y and indirectly, engaged and participated in or
   14    aided and abetted a continuous course of conduct and conspiracy to
   15    conceal adverse material information about the business, finances,
   16    f i n a n c i a l condition and future business prospects of Hamlet as
   17    specified   herein.      Defendants       employed       devices,       schemes    and
   18    a r t i f i c e s to defraud and engaged in acts, practices and a course of
   19    conduct as herein alleged in an effort to maintain an a r t i f i c i a l l y
   20    high market price for the s e c u r i t i e s of Hamlet, which included the
   21    making of or participation i n the making of untrue statements of
   22    material facts and omitting to state material facts necessary in
   23    order to make the statements made about Hamlet, i t s finances and
   24    business, in l i g h t of the circumstances under which they were made,
   25    not misleading and engaged in transactions, practices, and courses
   26    of   business   which   operated     as     a   fraud     and   deceit upon        the
   27    purchasers of Hamlet stock during the Class Period.
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                                             - 48 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 51 of 54 Page ID #:204



    1           79. The purpose and effect of t h i s scheme was to a r t i f i c i a l l y
    2    i n f l a t e the price of Hamlet publicly-traded common stock during the
    3    Class Period to induce representative p l a i n t i f f and members of the
    4    Class to purchase        Hamlet common stock a t a r t i f i c i a l l y    inflated
    5    p r i c e s so that defendants could enrich themselves at the expense of
    6    the public purchasers.
    7           80. During      the Class       Period,     defendants     issued      public
    8    statements    and reports including f i n a n c i a l statements           and other
    9    reports, releases and statements as described hereinabove,                     which
   10    were   materially false         and misleading       i n violation         of those
   11    provisions of federal and state law sued for herein. Said reports,
   12    releases and statements were materially f a l s e and misleading i n
   13    that they f a i l e d to disclose material adverse information about
   14    Hamlet's business, r e s u l t s from operations, operations, earnings,
   15    f i n a n c i a l condition and future business prospects.
   16           81. Each     of the defendants            herein   knew    or recklessly
   17    disregarded     the fact      that the aforesaid acts and practices,
   18    misleading    statements     and omissions       would adversely affect the
   19    integrity of the market i n Hamlet common stock and a r t i f i c i a l l y
   20    i n f l a t e or maintain the prices of such stock.              Defendants, by
   21    acting as described herein, did so knowingly or i n such a reckless
   22    or grossly negligent manner as to constitute a deceit and fraud
   23    upon representative p l a i n t i f f and members of the Class.
   24           82. As a r e s u l t of the dissemination of the aforementioned
   25    f a l s e and misleading reports, releases and f i n a n c i a l statements and
   26    manipulative conduct, the market price of Hamlet common stock was
   27    a r t i f i c i a l l y inflated throughout the Class Period.    In ignorance of
   28    the adverse      facts    concerning     Hamlet's business        and financial

                                               - 49 -
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 52 of 54 Page ID #:205




    1    condition concealed by defendants, representative p l a i n t i f f and the
    2    members of the Class          purchased     Hamlet    stock a t    artificially
    3    inflated prices, relying upon the integrity of the market, and were
    4    damaged thereby.
    5          83.     Had representative p l a i n t i f f and the members of the Class
    6    known of the materially adverse information not disclosed by the
    7    defendants, they would not have purchased Hamlet s e c u r i t i e s at the
    8    a r t i f i c i a l l y inflated prices they did.
    9                                        COUNT I I
   10             CLAIM FOR VIOLATIONS OF §20(a) OF THE EXCHANGE ACT
                 AGAINST DEFENDANT HAMBURGER HAMLET RESTAURANT, INC.
   11               AND INDIVIDUAL DEFENDANTS MCFALL AND BROCKMAN
   12          84.     P l a i n t i f f incorporates by reference ^ f l through 83. This
   13    Count i s asserted against defendants Hamlet, McFall, and Brockman.
   14          85.     The individual defendants named i n t h i s Count acted as
   15    controlling persons of the Company within the meaning of §20 of the
   16    Exchange Act.      By reason of t h e i r stock ownership and/or positions
   17    as   senior    officers   and/or directors,         as alleged    above, these
   18    defendants had the power and authority to cause the Company to
   19    engage i n the wrongful conduct complained of herein.                Hamlet i n
   20    turn controlled each of the individual defendants.
   21          86.     By reason of such wrongful            conduct,   the individual
   22    defendants named i n t h i s Count and Hamlet are l i a b l e pursuant to
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                                               - 50 ^
Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 53 of 54 Page ID #:206



    1    §20(a) o f t h e Exchange Act.           As a d i r e c t and proximate r e s u l t of
    2    t h e i r wrongful conduct, p l a i n t i f f and other members of t h e Class
    3    suffered      damages     i n connection w i t h         their    purchases      o f the
    4    Company's s e c u r i t i e s during t h e Class Period.
    5                             PLAINTIFF'S PRAYER FOR RELIEF
    6           WHEREFORE,        representative          plaintiff        demands        judgment
    7    i n d i v i d u a l l y and on behalf o f t h e Class as f o l l o w s :
    8           1.     Determining t h a t t h e i n s t a n t a c t i o n i s a proper class
    9    a c t i o n maintainable under Rule 23 o f t h e Federal Rules of C i v i l
   10    Procedure;
   11           2.     Against each defendant and i n favor o f the representative
   12    p l a i n t i f f and a l l members of t h e Class f o r damages i n an amount
   13    determined t o have been sustained by r e p r e s e n t a t i v e p l a i n t i f f and
   14    t h e members o f t h e Class;
   15           3.    Awarding      representative p l a i n t i f f      and members of the
   16    Class t h e costs of t h i s s u i t ,    i n c l u d i n g reasonable attorneys' and
   17    experts' fees and other disbursements;
   18           4.    Against      each     defendant      f o r punitive       and     exemplary
   19   damages;
   20           5.     Granting      representative         plaintiff       equitable       relief
   21    i n c l u d i n g an attachment and/or a freeze of t h e defendants' assets
   22    and/or i n j u n c t i v e r e l i e f against t h e d i s p o s i t i o n of these assets;
   23   and
   24           6.     Such other and f u r t h e r r e l i e f as may be j u s t and proper.
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Case 2:94-cv-01862-ABC-BQR Document 1 Filed 03/24/94 Page 54 of 54 Page ID #:207



     1                                   JURY DEMAND
     2           Plaintiff demands a t r i a l by jury.
     3   DATED:       March cJ^, 1994
                                                  MILBERG WEISS BERSHAD
     4                                              HYNES & LERACH
                                                  WILLIAM S. LERACH
     5                                            JOHN E. GRASBERGER
     6
    7
                                                           WILLIAM S. LERACH
    8
                                                  600 West Broadway, S u i t e 1800
    9                                             San Diego, CA 92101
                                                  Telephone: 619/231-1058
   10
                                                  WRIGHT & BONDS
   11                                             EDWARD L. WRIGHT
                                                  STEVEN E. CAULEY
   12                                             Centre P l a c e , S u i t e 900
                                                  L i t t l e Rock, AR 72201
   13                                             Telephone: 501/376-2500
   14                                             Attorneys f o r P l a i n t i f f
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   28    COMPLNTS\HANLET.CPT


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